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                                                            BY:                           DEFIJTY


                                   UNITED STATES DISTRICT CO URT
                                           DISTRICT OF NEVADA
          U NITED STATESOF AM ERICA,                   )
                                                       )
                              Plaintiff,               )
                                                       )
                                                       )          2:08-C R-3lI-RLH -G W F
                                                       )
          ARMEN AMBARTSUM YAN,                         )
                                                       )
                              Defendant.               )
13i1
   '                            PRELIM INARY ORDER OF FORFEITURE
14               ThîsCourtfindsthaton February l6,
     1                                               2011,defendantARMENAMBARTSUMYANpled
151 guiltyto CountsTwo andSixofaTen-countSecond Superseding Criminallndictmentcharginghim
16l in CountTw0withTraffickinginCounterfeitAccessDevices, in violation ofTitle 18,U nitedStates

l7 Code,Sedion l029(a)(1)andcilarginghim inCountSixwithAggravatedJdentityTheftinviolation
18 ofTitle18,UnitedStatesCode,Section l028(a)(1)and (c)(4).
l9!
  I              ThisCourtfindsdefendantARM EN AM BARTSUM YAN agreedtotheforfeitureofproperty
     l
20 setforth in Forfeiture A llegations ofthe Second Superseding Crim inallndictm ent,
                 This Courtfinds,pursuant to Fed.R . Crim.P.32.
                                                              2(b)(1)and (2),theUnited Statesof
222' A m erica hasshow'
                      n the requisite nexusbetw een property setforth in theForfeiture A llegationsofthe
     i!
23        Second Superseding Criminal Indictment and the offensc to which defendant ARM EN
24        A M BA RTSUM Y AN pled guilty.
25l              ThefollowingassetaresubjecttoforfeiturepursuanttoTîtle18, UnitedStatesCode,Section
26 981(a)(1)(C)and-l-itle28,UnitedStatesCode,Section2461(c);Title18,UnitedStatesCode, Sections
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 Case
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1 1956(c)(7)(A)and 1961(1)(B);Title 18,UnitedStatesCode,Section982(a)(2)(B);Title18,United
2 StatesCode,Secticm 1029(c)(l)(C);andTitle21,United StatesCode,Section 853(p):
3i
 I              a'     Sony Brow n 42''Lcd Tv S,
                                               'N 1050106'
                                                         ,
                                              ,

4i              b.     Sony Brown 42',Lcd Tv, Sm l0020504
                c.     DcllM odel1320 LaserPrinter,S?'
                                                     N 351-
                                                          1711t7;
                d.     DellM odel1850 LaserPrinter,S/N 1-11c34091;
                e.     AcerLaptop,Sm Lxa170x043820001ef25l3;
                f.     D ellXpsLaptop,Sm 5vg3kd1;
                g.     Apple M ac Laptop,Sm W sso7fsdopl'
                                                        ,
                h,     Hp Laptop,S/N 2ce7222m 6q;
                       M acBook Air,S/N W 8813ppuy'51;
                       M iscellaneous Cards,Cables, R em otes,Controqlers,Stands;
                k.     3,5 X Drive,Extend Harddrive,S,
                                                     /N 020851,
                                                              .
                1.     Apple Tv,S/N 6t% 18'2w04c,p'
                                                  ,
                m .    W d ExternalH ard Drive,S/.
                                                 hlW % 207674808)
                IR.    M sr206 Encoder,S/N A 015401)
                O.     Psp Portable,S/N Pp865026504-15+ 100l;
                       Psp Portable,Sm .
                                       /t4045924040-17+ 2001)
                q.     lpod Touch 16 Bg,S?N 1c80167a/41);
                       Iphone,S?N 5k81880jwh8'
                                             ,
                S.     lphone,S?'hl Bcga124l'
                                            ,
                       lphone,S?'hl 5k8024710:,1:8;
                       iphone,S?'N 579ca1241;
                       Sandisk 2 Gb Flashdrive,S,'N 2048+ ,
                W .    Sandisk 4 Gb Flashdrive,S/'N 4096+ ;
                       Sandisk 1Gb Flashdrive,S,'hl l024rb;
'




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         I               y.     Pny A ttache 1Gb Flashdrive,No S/N ;

         p.              z. LogitechM xRevolutionThumbdrive,S/N 8l0-000412'
                                                                          ,                           !
         3!
          I
                         aa. ironKeyThumbdrive,S/N 0140485.
                                                          ,                                           i
                                                                                                      I
         4:              ab.    Iron K ey Thum bdrive,S?N   0140551'
                                                                   ,

         jj              ac. DellXps'Tower,S/N 30gzcgl;                                               I
          I'                                                                                          I
         6:1             ad. Playstation 3,S?'N Ce124O62502-CechaOl;                                  I
           I '
                                                                                                      I
         7               ae. Playstation 3,S,'N Ce514635354-Cec11g0l;                                 i l
                                                                                                      i
         g               af.    Xbox 360,Sm 311730682 105'
                                                         ,
         9.              ag.    xbox 360,N o S/N,
                                                .
        10!
          ;              2h'    l xbox 36O video Gam e;
                                 -
                                                                                                      i
        j1I
          I              ai.    11-Playstation 3 V ideo G am es;                                      '
                                                                                                      !
        12               aj.    6 -Psp Gamesln Case;
        13j              ak. 35-BlueRayMovies;
        14:;             a1.    W tj-goalipper,                                                       I
                                                                                                      i
             ;I                                                                                       j
        jj'
          I              am. $3,000Cash(FromGal'
                                               yAmbartsumyan'srooml;                                  '
                                                                                                      1
        16               an. $4900 Cash (f-rom ArturAmbartsumyan'srooml;
        )y                ao.   $14,802.63 in M oneyGram M eney Orders'
                                                                      ,
        )g'               ap.   M ens'Breitling Bentley W atch,S/hi,4.25362.
                                                                           ,and
             I;

        191j             .aq. M ens'BreitlingBentley W atch;
        gtl               ar    counterfeitaccessdevice containing unauthorized accountinform ation
                                forVisadebitcard accountin thenam eofM .V .,accountnum berending
        2l                      in X -4923.
                                          ,

        :2                as.   counyrfeitaccessdcvicecontainingunauthorized accountinformation
                                forV lsa debitcard accountin the nam e ofG .V .,accountending in X - g
        p.y                     2319;                                                                I
                                                                                                      I
        p.,
          j               at.   counterfeitaccessdevice coptaining unauthorized accountinform ation
                                forV isa debitcard aocountln the nam e ofC.D .,accountending in X -
        25I
          1l
           i                    1918;                                                                 .
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             au.   countcrftitacmessdevice oontaining unauthorized aecountinform ation
                   fora Bank ofA m erica Visa debitcard account, account ending in X-
                   7ll9;

             av,   counterfeitaccessdevicecontaining unauthgrized accountinformation
                   fbrBank ofAm ericav isadebitcardaccountlnthenam eofJ.R .,account
                   ending in X-4609.
                                   ,
             aw . counterfeitaccessdevice containing unauthorized aocountinfonnation
                  for a Bank of Am eric.a V isa debit card account in the nam e of B J.,
                                                                                       .
                  accountending in X -1577.,
             ax.   countcrfeitaccess device containing unauthorized accountinform ation
                   fora Bank of Am erica Visa debitcard account,accountcnding in X -
                   8491;
             ay,   counterfeitaccess device containing unauthorized accountinform ation
                   forBank ofAm ericaV isadebitcardaccount, accountending inX-6657,   ,
             az    counterfeitaccess device containing unauthorized accountinform ation
                   forBank ofAm ericaV isadebitcardaccount, accountending in X-9612,  .
             aaa. counterfeitaccess device containing unauthorized accountinform ation
                  for Bank of A m erica Visa debit card account in the nam e of G . S.,
                  accountending in X-2034.  ,
             aab. counterfeitaccessdevice containing unauthorizcd accountinform ation
                  for Bank of Am erica V isa debit card account in the nam e of C .S.,
                  accountending in X-3846. ,
             aac. counterfeitaccessdevice containing unauthorized accountinfonnation
                  for Bank of Am erica V isa debit card account in the nam e of S K ,,
                                                                                   .
                  accountending in X-5010;
             aad. counterfeitaccessdevice containing unauthorized accountinform ation
                  for Bank of A m erica V isa debit card account in the nam e of E H .,
                                                                                   .
                  accountending in X -4275, .
             aae. counterfeitaccessdevice containing unauthorized accountinform atiqn
                  for Bank of Am erica Visa debit card account in the nam e of B .W .,
                  accountending in X -734l;
             aaf. counterfeitaccessdevice containing unauthorized accountinform ation
                  forBank ofA m ericaVisadebitcard account, accountending in X-3019;
            aag. counterfeitaccessdevice containing unauthorized accountinform ation
                 for Bank of A m erica Visa debit card accolm t in the nam e of D ,R .,
                   accountending in X -4018;
            aah. countcrfeitaccess device containing unauthorized accountinform ation
                 forBank ofAm ericaVisa debitcard ac,count, accountendingin X-7(J17',

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         '
                                                                                                             ;
  11I                  aai .   counterfeitaccessdevice containing unauthorized accountinform ation
                               forBank ofAm ericaV isadebitcard account, accountending inX -6691.,
 2
                       aai. counterfeitaccessdevicecontainingunauthorizedaccountinfonnation 4
                                                                                            l
 g                         '   forW ellsFargo debitcard account, num berending in X-4424.
                                                                                        ,
         iI                                                                                                  .
 4                     aak. counterfeitaccess devicecontaining unauthorized accountinform ation
                            foraW ellsFargo debitcard account,accountnum berending in X -7930) I
 s'
         I
         I             aal, counterfeitaccess device containing unauthorized accountinformation
 6                             tbra W ellsFargo debitcard account,num berending in X -6110,.
 7)                    aam . 2008 W hite BM W M 5,V IN *-85N 893548CX09044*
                                                                          ,

 g                     aan. 2O08 B lack M ercedes                 B enz     G -5O0       W agon,     V lN
                            W 17CY 1:491ï38X 171546.
                                                   ,
 9,
     1                 aao. 2006BiackQuadCabDodgeDakota-rmck,V1N 11371-
                                                                      1A18286J185015'
                                                                                    ,)
l0k                            and

jj'                    aap, an inpersonam criminalforfeituremoneyjudgment()f$663,089.35 in
  !                         United StatesCurrencyttttheproperty'').
1j
 2,              This Court tinds the United States ofA m erica is now entitled to, and should,reduce the
         I
13.i aforem entioned property to the possession ofthe tlnited StatesofA m erica                              I
                                                                                                             '
                                                                                 .
   i
)4 $
   I             NOW TIIEREFORE,IT IS HEREBY ORDERED , A DJU DGED ,AN D DECREED thatthe i
jj United StatesofAmerica should seizethe aforementioned property.                                           I
)6               IT ISFURTHER ORDERED,ADJUDGED,AND DECREED allright, title,and interestof
j7i ARM EN AM BARTSUM YAN intheaforementionedpropertyisforfeitedandisvestedintheUnited
     .

1j) StatesofAm erica and shallbe safely held by the U nited States ofA m erica untilfurtherorder ofthe
19:l$
    1 Court.
    !
ztl          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED tl)eUnited StatesofAm erica

a).
  I
    shallpublishforatleastthirty(30)eonstcutivedayson theofticialinttrnetgovernmentforfeitm e
     .

2a1
  . w ebsite,w vsrjv.forfeiture.cov,notice ofthis Order,which shalldescribe the forfeited property, state :
23 the tim eunderthe applicable statute when a petition contesting thc forfeiture m ustbe tiled, and state
24.1
   i thenam eand contactinformationforthegovernmentattorneytobeservedwiththepetition, pursuant '
  Cl
25.1 toFCd'R'Crim P.32.2(b)(6)andTitle2l,UnitedStatesCode,Section 853(n)(2).
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     Case
     r!   2:08-cr-00311-MMD-GWF             Document 271                 Filed 02/16/11             Page 6 of 6   I
     yi                                                                                                           .



                                                                                                                  I
     1                                                                                                            '
     I:                                                                                                           '
 j                IT IS FU RTHER ORD ER ED ,AD JUD GED ,AN D DECREED apetition,ifany,mustbeGled
 g. with the Clerk ofthe Court 333 Las Vegas Boulevard South, Las V egas,N evada 89l01.
 3               IT IS FURTHER O RD ERED ,A DJUD GED ,AN D D ECREED a copy ofthepetition, ifany,
 4. shallbe served upon the AssetForfciture Attorney ofthe United States Attorney's Offce atthe
 5        following addressatthe tim e offiling:
 (5                     M ichaelA .H um phreys
  E                     AssistantUnited StatesAttorney
 y                      D anielD .Ilollingsw orth
                        A ssistantU nited StatesA ttorney
 gl                     Lloyd D ,G eorge U nited States Courthouse
  g                     333 Las V egas Boulevard Southa Suite 5000                                                l
                                                                                                                  '
 9                      I-asVegas,Nevada89101.                                                                    i
   E                                                                                                              1
)();             IT IS FU RTHER ORD ERED,A D JU D GED , AND DECREED the noticedescribed herein :
j) need notbe published în the eventa Declaration of Forfeiture is issued by the appropriate agency .
    i
j:g.! following publication ofnotice ofseizureand intentto adm inistrativelyforfeittheabove-described I
  !@                                                                                                              I
13 PVOPCFU.
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14               DA TED this Zsj
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